Case 1:19-mc-00145-TSC Document 183-1 Filed 08/07/20 Page 1 of 3




                   EXHIBIT 1
          Case 1:19-mc-00145-TSC Document 183-1 Filed 08/07/20 Page 2 of 3




 Decedent:                      Wesley Purkey                                     Case: N20- 0033
                                                                                  Sex: Male
                                                                                  Age: 68 years


 Date Pronounced Dead:       July 16, 2020
 Date of Exam:               July 23, 2020
 Time of Exam:               1030 hours
 County:                     Not applicable; private
 Forensic Pathologist:       Joyce L. deJong, D.O.
 Autopsy Procedure:          Full


                      PRELIMINARY FINDINGS REPORT

Autopsy Examination Findings:
   I. Severe bilateral acute pulmonary edema
           A. Right lung weight – 1140 grams
           B. Left lung weight – 1160 grams
           C. Frothy pulmonary edema in trachea and mainstem bronchi
   II. Intravenous catheters and needle puncture marks
           A. Intravenous catheter – back of right hand near second metacarpal
                   i. Grossly visible extravasation of blood, consistent with venous perforation
                  ii. No grossly visible evidence of extravasation of administered fluids
           B. Needle puncture, bandaged – back of right hand near fourth metacarpal
                   i. Grossly visible extravasation of blood, consistent with venous perforation
                  ii. No grossly visible evidence of extravasation of administered fluids
           C. Needle puncture, tape nearby – back of left hand, near fourth metacarpal
                   i. No grossly visible evidence of intravascular access
                  ii. No grossly visible evidence of extravasation of fluids
   III. Atherosclerotic cardiovascular disease
           A. Severe narrowing of proximal left anterior descending coronary artery

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           Case 1:19-mc-00145-TSC Document 183-1 Filed 08/07/20 Page 3 of 3




          B. Severe narrowing of distal left anterior descending coronary artery
   IV. Pending testing
          A. Complete neuropathology examination by R.J. Castellani, M.D.
          B. Comprehensive toxicology
          C. Microscopic examination



Reasons for performing an examination: The decedent, a 68-year-old man, reportedly underwent a
judicial execution by lethal injection on July 16, 2020. An autopsy was requested and authorized by the
legal next-of-kin. The findings recorded above are not the complete findings from the examination.
Additional tests which are pending at the time of this report include toxicology testing, microscopic
examination of tissues, and a complete neuropathology examination. This is a preliminary report of the
gross findings from the autopsy and when the additional testing is complete, additional findings and the
complete description of all findings will be added to a final report.




                                                                         Joyce L. deJong, D.O.
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2|Page

Wesley Purkey
